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 6
     Attorneys for Defendant Cesar Noe Villa
 7
 8                       UNITED STATES DISTRICT COURT
 9
                        EASTERN DISTRICT OF CALIFORNIA
10
                                  FRESNO DIVISION
11
     UNITED STATES OF AMERICA,      )      Case No. 1:11-CR-00354 LJO
12                                  )
                Plaintiff,         )
13                                  )      ORDER   of    Denial       Without
     v.                             )      Prejudice
14                                  )
15   CESAR VILLA, ET. AL.,           )     Date: October 28, 2013
                                     )     Time: 8:30 a.m.
16              Defendant.          )      Judge: Lawrence J. O’Neill
                                    )
17                                  )
                                    )
18
19         The sentencing hearing in this matter, currently scheduled
20   on October 28, 2013, is being requested to be continued to 8:30
21
     a.m. on January 13, 2014.       The request is due to conflicts on
22
     defense counsel’s calendar as a result of two criminal cases in
23
     the Contra Costa Superior Court.       This Court is concerned about
24
     a ten week continuance, especially due to the fact that the
25
     defendant is currently in custody.       The cost of that housing is
26
27   [Proposed] Order
     U.S. v. Villa, et. al.;
28   Case No. 1:11-CR-00354 LJO
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 1   significant.
 2            Before finding Good Cause, the undersigned needs to know
 3   answers to the following questions:
 4
     –Do trials in the Contra Costa Superior Court go five days a
 5
     week?
 6
     -Is there any reason substitute counsel cannot stand in for the
 7
     purpose of sentencing?
 8
     -Are both trials a CERTAINTY, with no chance of resolution or
 9
10   continuance?

11   -Is there some valid reason the decision cannot wait until more

12   is known about the certainty of the dates?

13            Counsel for the Defendant should respond within 5 court
14   days.
15
     IT IS SO ORDERED.
16
     Dated:     October 2, 2013        /s/ Lawrence J. O'Neill  B9ed48
17                                    UNITED STATES DISTRICT JUDGE
18
19
20
21
22
23
24
25
26
27   [Proposed] Order
     U.S. v. Villa, et. al.;
28   Case No. 1:11-CR-00354 LJO          2
